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                   IN THE UNITED STATES DISTRICT COURT FOR                                    iAVANMAI-I DiV.
                         THE SOUTHERN DISTRICT OF GEORGIA
                                       SAVANNAH DIVISION


UNITED STATES OF AMERICA
                                                                                              ■' 'j rvrzi. Ur GA.
V.                                                              CASE NO.     4:17-cr-00278-l


Curel Taylor Reilly,
        Defendant.




                                              ORDER


        Defendant        Reilly        has     filed       a      "Motion         to    United             States

Attorney to          Consent      to    Sentence          Reduction Pursuant                      to       Federal

Civil     Procedure        60(b) ."          (Doc.       21) .      Specifically,                     Defendant

requests       that the United States Attorney's Office consent to a

sentence        reduction         of     two        points        for      the         "safety             valve"

provisions       found      at    U.S.S.G.           §   5C1.2,     and      that       the           Court       re-

sentence her to "one year and one day of imprisonment."

        Defendant is serving a 24-month custodial sentence imposed

by the Court following Defendant's plea of guilty to structuring
transactions to evade reporting requirement,                                    in violation of 31

U.S.C.     §     5324 (a) (3) .          The     imposed           sentence            was        a       downward

variance       from the        advisory guideline                 range      of    30        to       37    months

that the Court adopted at sentencing.

        As an initial matter,                 Defendant           is no more eligible                       for a

two-point        downward         adjustment              pursuant         to      the            Guidelines'

"safety        valve"      provision          now        than     she   was        at        the          time     of

sentencing.             Only     defendants              convicted      of        certain             Title        21

offenses       may    be    considered          for        the     safety         valve           adjustment;

again. Defendant was convicted of a Title 31 offense.
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